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UNI'I`ED STATES DISTRICT COURT
S{)UTHERN ])ISTRICT OF NEW Y(}RK

STATE OF NEW YORK: et al.,
Plaintit`fs,

`V.

UNITE )_ STATES DEPARTMENT CIVIL ACTION NO. l:lS-ev-ZQE] (JMF)
OF CO.leERCE, et al.,

Defendants.

 

 

SUPPLEMENTAL AFFIDAVIT OF SARA CULLINANE

Pursua it te 23 U.S.C. § 1?46(2}, l,. Sara Cullinane, hereby declare as Fellews:

l . as explained in my attidavit, dated Oeteber 23_. ZUl 3, I am the ee-t"eunder and Direeter
Ot` Mal ;e the Read Nevv .lersev ("‘Mal~;e the Read NJ"),] a eemmunitv-based immigrants’ rights
ergani:atien With eenters in Elizabeth and Passaie, Nevv .lersey - tvve eities vvith significant
t`ereigr_ -bern pepulatiens

2. All et` the statements made in my Oeteber 23 afl"idav it and in this affidavit are made
based lin my persenal knew|edge acquired after fourteen years et` eaperienee werking en
immiglantsi rights issues. This experienee ineludes my werk as a ee~mmunity drganizer,l
atteme v, and nmv - direeter ef` l“vlake the Read Nevv .lerse;v. Durin_g this time peried_, I have
t`amilia.‘iaed myself 1~vith lvlal<;e the Read Nevv .lersey"s internal reeerds, preeesses, and
membt rship. lt is alse my praetiee te familiarize myself vvitll ehanges in peliev and praetiee,

as well as any ether related issues, that arise With regard te immigratien enfereement.

 

l Make the Read N.l and l'vlal<.e the Read Netv 'Y'erlt are twa separate entities.

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l

3. The fears et` immigrant cemmunities in New Jersey and the practical results ef these
fears, stated in my testimeny in paragraphs 4 and 6 et` my Octeber 23 aftidavit, reflect my
persen: .l leiewledgei Specifically, l learned cf the increased rate et` arrests and detentiens
threugl. my practice ef familiarizng myself with changes in pelicy, praetiee, and any ether
issues related te immigratien enfercement - which included reading newspaper articles.2 My
statemr nt abeut lewer levels ef use ef public serviees, unwillingness te interact with state and
lecal gc +vemnenml agencies, and lewer enrellment at Passaic Cemmunity Cellege as well as
in the E upplemental Nutritien Asseeiatien Pregram ("‘SNAP”'), are based en the knewledge l
acquire l threugh eutreaeh eenducted by Make the Read New .lersey, persenal interactiens at
lvlalte tl le Read events, and threugh my familiarity with current events in the immigrant rights’
eentext 3 Threugh Make the Read New Jersey’s survey, we reached eat te erganizatiens in 15
ef New Jersey’s 21 ceunties and 9?% et` these erganizatiens respended that their clients have
express :d fears about aecessing secial services since 201?.

4. _n paragraph ll cf my Oeteber 23 affidavit, l described a September 2013 reundtable
in whici I participated In that paragraph, l mentiened that varieus eemmunity greups and
secial services previders expressed cencerns abeut the citizenship questien. I have persenal

knewlet ge ef these eencerns based en my ebservatiens and cenversatiens at that reundtable,

 

2 https:ftwves: l_i+eemfnewsfindex.ssftZt`J`|Sr"tthiee_arrests surge_und__,er trump seemwhere*n_i mgl<s.html
3 httgs:r‘fwww. serthjersey+eemfsterwnewstElll ?.-"UWZHFamid»-daca-t`ears-passaie~»eeuetv-freeheiders-nieve»preteet~
undeeuntentet-immigrantsf?tl'}§t}?t`l{llf

 

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as well as frem reading press acceunts that relate the sentiments et` these erganizatiens.‘1

l decla: le under penalty et` perjury that, te the best ef my lmewledge:l the feregeing is true
and cei rect.

Executr rd en this 3rd day et` Neveml::¢enl 2013

 

Sara Cullinane
Direeter

lvlake the Read New Jersey

 

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